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                   I watchedIN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-02242-CNS-NRN

  ERIC WITT,

  Plaintiff,

  v.

  STATE OF COLORADO,
  DAVID R. DOUGHTY (Attorney),
  TERI VASQUEZ (Judge),
  JANEWAY LAW FIRM P.C.,

  Defendants.

                                      MINUTE ORDER1

  Entered by Magistrate Judge N. Reid Neureiter

        It is hereby ORDERED that the State of Colorado’s Unopposed Motion for
  Extension of Time to Answer or Otherwise Respond to Plaintiff’s Complaint (Dkt. #26) is
  GRANTED. The State of Colorado should answer or otherwise respond to the
  Complaint on or before January 11, 2023.

  Date: December 21, 2022




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            Rule 72(a) of the Federal Rules of Civil Procedure provides that when a pretrial
  matter not dispositive of a party’s claim or defense is referred to a Magistrate Judge to
  hear and decide, the Magistrate Judge must issue a written order stating the decision.
  Within fourteen (14) days after service of a copy of this Minute Order, any party may
  serve and file written objections with the Clerk of the United States District Court for the
  District of Colorado. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(a). Failure to make any
  such objection will result in a waiver of the right to appeal the non-dispositive order. See
  Sinclair Wyo. Ref. Co. v. A & B Builders, Ltd. 989 F.3d 747, 782 (10th Cir. 2021) (firm
  waiver rule applies to non-dispositive orders); but see Morales-Fernandez v. INS, 418
  F.3d 1116, 1119, 1122 (10th Cir. 2005) (firm waiver rule does not apply when the
  interests of justice require review, such as when a “pro se litigant has not been informed
  of the time period for objecting and the consequences of failing to object”).
